              Case 2:23-cr-00179-RAJ Document 64 Filed 02/27/24 Page 1 of 4




                                                            THE HONORABLE BRIAN A. TSUCHIDA
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 7                           UNITED STATES DISTRICT COURT FOR THE
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE
 9
                                                             No. CR23-179 (RAJ)(BAT)
10
       UNITED STATES OF AMERICA
                                                             UNOPPOSED MOTION TO SEAL
11                               v.                          UNREDACTED VERSION OF
                                                             DEFENDANT’S RESPONSE TO
12     CHANGPENG ZHAO,                                       GOVERNMENT’S MOTION TO
                                                             MODIFY BOND
13                        Defendant.
                                                             Note on Motion Calendar:
14                                                           February 27, 2024
15
16           Defendant Changpeng Zhao moves to file his Response (the “Response”) to the

17    government’s Motion to Modify Bond, Dkt. 63, under seal and file the Response publicly with

      redactions because the Response contains highly confidential and sensitive information. The Court
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      has previously issued a sealing order, Dkt. 27, and has accepted other sealed submissions, Dkt. 39
19
      and 49, granting leave for Mr. Zhao to file under seal confidential and sensitive information of the
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      same or similar nature. The government does not oppose this motion.
21           “It is well-settled that federal courts have inherent authority to control papers filed with the
22    court.” United States v. Mezquita Vega, No. CR20-120RSM, 2023 WL 7129770, at *1 (W.D.

23    Wash. Oct. 30, 2023) (citing United States v. Shryock, 342 F.3d 948, 983 (9th Cir. 2003)); see also

     UNOPPOSED MOTION TO SEAL UNREDACTED VERSION OF
                                                                                         ATTORNEYS AT LAW
     DEFENDANT’S RESPONSE TO GOVERNMENT’S MOTION TO                                          NEW YORK
     MODIFY BOND (CR23-179) - 1
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 1    United States v. Mann, 829 F.2d 849, 853 (9th Cir. 1987) (“The district court has the inherent

 2    power to seal affidavits filed with the court in appropriate circumstances.”).1 When deciding to

      seal court filings, courts “must consider the two qualified rights of access to judicial proceedings and
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      records recognized by the Ninth Circuit – the First Amendment right of access to criminal
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      proceedings and documents there in, and the common law right to inspect and copy public records
 5
      and documents, including judicial records and documents.” United States v. Collins, No. CR20-
 6    5001-BHS, 2020 WL 6874873, at *1 (W.D. Wash. Nov. 23, 2020) (citing United States v. Doe, 870

 7    F.3d 991, 996-97 (9th Cir. 2017)).

 8             The First Amendment and common law rights to access court filings and proceedings create

      a “strong presumption” in favor of openness and access. Doe, 870 F.3d at 998 (describing First
 9
      Amendment right of access); Foltz v. State Farm Mutual Auto. Ins. Co., 331 F.3d 1122, 1135 (9th
10
      Cir. 2003) (describing common law right of access). Parties in a criminal proceeding can rebut the
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      presumption under the First Amendment by showing “‘(1) closure serves a compelling interest; (2)
12    there is a substantial probability that, in the absence of closure, this compelling interest would be

13    harmed; and (3) there are no alternatives to closure that would adequately protect the compelling

14    interest.’” Doe, 870 F.3d at 998 (citing Oregonian Pub. Co. v. U.S. Dist. Court for Dist. of Or., 920

      F.2d 1462, 1466 (9th Cir. 1990)). Similarly, under the common law right of access “[a] party seeking
15
      to seal a judicial record . . . bears the burden of overcoming this strong presumption by meeting the
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      ‘compelling reasons’ standard.” Kamakana v. City and County of Honolulu, 447 F.3d 1172, 1178
17
      (9th Cir. 2006) (citing Foltz, 331 F.3d at 1135). Any court ruling must be supported by specific
18    factual findings. Doe, 870 F.3d at 998. Because the First Amendment right to access is stronger than

19    the common law right, a party seeking to seal a filing or proceeding need only meet the former

20    standard. See United States v. Bus. of Custer Battlefield Museum & Store Located at Interstate 90,

21    1
        The Ninth Circuit also “allows the presumptive sealing of documents attached to a motion to seal while
      district courts consider whether the documents should be made public.” United States v. Doe, 870 F.3d 991,
22    1002 (9th Cir. 2017).

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     UNOPPOSED MOTION TO SEAL UNREDACTED VERSION OF
                                                                                                     ATTORNEYS AT LAW
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 1    Exit 514, S. of Billings, Mont., 658 F.3d 1188, 1197 n.7 (9th Cir. 2011). When a district court seals

 2    documents or proceedings, “it must be no greater than necessary to protect the interest justifying it,”

      and sealed documents “must be released when the danger of prejudice has passed.” United States v.
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      Brooklier, 685 F.2d 1162, 1172 (9th Cir. 1982).
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             Accordingly, Mr. Zhao moves for leave to file the unredacted version of the Response under
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      seal and publicly file the Response with redactions.
 6
 7           Dated this 27th day of February, 2024.

 8
                                                     By: /s/ Benjamin Naftalis
 9                                                      Benjamin Naftalis (pro hac vice)
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12
                                                         Attorney for Defendant Changpeng Zhao
13
                                                         I certify that this memorandum contains 602
14                                                       words, in compliance with the Local Criminal
                                                         Rules.
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     UNOPPOSED MOTION TO SEAL UNREDACTED VERSION OF
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                                     CERTIFICATE OF SERVICE
 1

 2           I, Benjamin Naftalis, hereby certify that on February 27, 2024, I electronically filed the

 3    foregoing with the Clerk of Court by email.

 4
                                                    /s/ Benjamin Naftalis
 5                                                  Benjamin Naftalis (pro hac vice)
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     MODIFY BOND (CR23-179) - 4
